
Gablahd, J.
delivered the opinion of the court.
The plaintiff claims a negro girl as his property, which he alleges is in the possession of the defendant Madame Javier, who sets up title to her. The latter denies the plaintiff has any right to the slave, and further says she purchased her in good faith for a valuable consideration of Yeill, who warranted the title, and he was cited to defend it. He answers, that [588] he purchased the slave for a valuable consideration and in good faith ; he denies defendant’s title, and says, if he ever had any, it has been divested.
The evidence establishes conclusively, that the girl Lydia was born on the plantation of the plaintiff in the State of Virginia, of a female slave that belonged to him. In the latter part of the year 1836, he brought this girl with a number of other slaves to Yicksburg, in the State of Mississippi, for the purpose of hiring them out. He refused to sell them, though offered a high price. The slaves were hired out at the commencement of each year, and the plaintiff annually visited the State for the purpose of receiving their hire. • He had an agent in Vicksburg, who attended to his business in Ms absence. In January, 1838, the girl was hired to one J. D. Bruner, who. in the month of April following took her to Hatchez, and after offering her for sale privately at different times, finally had her sold at auction, when Yeill became the purchaser, brought her to New Orleans, and sold her to the defendant, with a full guaranty, without notice of any fraud.
The counsel for Yeill, the warrantor, rests Ms defence principally on the ground, that slaves are, by the law of Mississippi, movable property, that *726possession is prima facie evidence of title, and as it is proved that Bruner came lawfully into the possession of the slave by hiring her, his subsequent bad faith and fradulent conduct towards the real owner, ought not to affect the property in the'hands of an innocent purchaser for a valuable consideration. He has called our attention to the distinction between the felonious and fraudulent acquisition of property, and the difference it makes in the rights of a third person, and from the earnestness with which he pressed on us the opinion of one of the dissenting members of the court of errors in Hew-York, in the case of Hoffman v. Carow, 22 Wendell, 285, it would seem he was desirous of abolishing that distinction.
[589] Upon a full examination of all the cases and principles settled in the United States and other countries, we think the correct doctrine has been laid down by Chief Justice Savage, in the case of Andrew v. Dieterich, 14 Wendell, 34. He says, if goods are taken feloniously, no title is acquired by the felon, and he oan convey none to a bona fide purchaser; but where the vendor has delivered possession of his goods, with the intent not only that the possesssion, but the property shall pass, a bona fide purchaser from a fraudulent vendee, shall hold the goods in preference to the original owner. The reason is, that the original owner, by putting his goods in the hands of the fraudulent vendee, has reposed confidence in him, and has enabled him to commit a fraud; therefore the equity of the original owner is not equal to that of the person who has bona fide parted with his money or property in the purchase of such goods. The original vendor, by his imprudence, enabled the fraudulent vendee to defraud some one, and should himself he the sufferer rather than a third person, who must otherwise be defrauded. 8 Oowen, 238; 5 T. B. 175 ; 13 Wendell, 570.
In this case it is evident, that Bussell had no intention of passing the right of property in the slave in controversy to Bruner, by hiring her to him. He only intended to give a temporary possession, and the subsequent bad faith of the lessee does not deprive the owner of his right of property.
The La. Code, art. 3475, says, that a possession of a movable property for three years, which had been bought at auction or of a third person in the habit of selling such things, will enable the possessor to hold it against the real owner, unless he return the price the possessor gave for it, but this rule, we apprehend, is not applicable to slaves.
The case of Barfield v. Hewlett, 4 La. Rep. 120, is very similar to this. In that case the plaintiff established his title; it was admitted the defendant had purchased the slaves at auction, and took Harraldson’s bill of sale. The slaves had been delivered to Harraldson in Tennessee, to be taken to Attakapas or Opelousas, with written instructions to hire them out. Harraldson [590] brought them to New Orleans, where he publicly offered them for sale, and finally put them up at auction. The court said, it is clear the defendant acquired no title, his vendor having none himself, nor authority to convey any.
The judgment of the district court is therefore affirmed so far as it relates to the plaintiff Bussell and the defendant Madame Bavier; but in relation ta the portion of it between the defendant and Yeill, her warrantor, it is order*727ed that said judgment be amended so, that she recover of him five hundred' and thirty dollars, with interest at the rate of five per centum per annum, from the 2d of February, in the year 1839, until paid, and the costs of this suit and the costs of this appeal.
